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 4   Email: dfischer@fischerlawlv.com
     Attorney for Defendant Jess Flores
 5

 6                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 7

 8
     UNITED STATES OF AMERICA,                         Case No. 2:13-cr-00238-JAD-VCF-1
 9                          Plaintiff,

10   vs.                                                STIPULATION TO EXTEND
                                                        SURRENDER DATE TO ALLOW
     JESS FLORES,                                       FOR MEDICAL TREATMENT
11
                            Defendant.
12

13

14

15           COMES NOW the Defendant, JESS FLORES, by and through his counsel of record,
     DAVID R. FISCHER, ESQ., and pursuant to stipulation by the parties as set forth below,
16
     hereby requests that this Honorable Court extend the Defendant’s surrender date to allow for
17
     medical treatment. In support hereof, the Defendant gives the Court to understand as follows:
18
             1. On June 19, 2013, the United States filed an Indictment charging Mr. Flores with
19   Conspiracy to Distribute a Controlled Substance- Methamphetamine (21 USC 846 and 841
20   (a)(1) and (b)(1)(B)(viii).

21           2. On March 24, 2016, Mr. Flores entered a plea of guilty to Conspiracy to Distribute a
     Mixture of Substance Containing a Detectable Amount of Methamphetamine (21 USC 846 and
22
     841(a) and (b)(1)(C). The United States in turn agreed to dismiss the original Indictment.
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 1
            3. This matter came before the Court for sentencing on October 24, 2016. With respect
 2   to incarceration, the Court ordered Mr. Flores to serve 30 months incarceration in the U.S.
 3   Bureau of Prisons (BOP), followed by 3 years of supervised release.

 4          4. The Court provided Mr. Flores with a self-surrender date of January 9, 2017.
            5. On or about November 29, 2016, the Defendant was counseled by his doctor that he
 5
     needs knee and shoulder replacement surgeries.
 6
            6. Records documenting the foregoing recommended surgeries have been provided to
 7
     the Assistant United States Attorney.
 8          7. Mr. Flores requires additional time to have those surgeries.

 9          8. For the foregoing reasons, Mr. Flores is requesting a 60-day extension of his January

10   9, 2017 surrender date.
            9. The Assistant United States Attorney stipulates to the extension.
11
            WHEREFORE, the Defendant requests that this Honorable Court extend his surrender
12
     date of January 9, 2017 for a period of 60 days.
13          RESPECTFULLY SUBMITTED this 7th day of December, 2016
14

15

16

17                                                __/s/ DAVID R FISCHER______
                                                  DAVID R. FISCHER, ESQ.
18                                                Attorney for Defendant Jess Flores
19   STIPULATED AND AGREED TO:
20

21   __/s/ CRISTINA SILVA_____
     CRISTINA SILVA, AUSA
22   Assistant United States Attorney
23

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           Case
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     Attorney for Defendant Jess Flores
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 6                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 7

 8
     UNITED STATES OF AMERICA,                         Case No. 2:13-cr-00238-JAD-VCF-1
 9                          Plaintiff,

10   vs.                                                ORDER TO EXTEND
                                                        SURRENDER DATE TO ALLOW
     JESS FLORES,                                       FOR MEDICAL TREATMENT
11
                            Defendant.
12

13

14
             THIS MATTER have come before the Court upon the Stipulation of the parties
15
     submitted by the Defendant, JESS FLORES, by and through his counsel of record, DAVID R.
16
     FISCHER, ESQ., and good cause appearing, the Court hereby finds as follows:
17           1. On June 19, 2013, the United States filed an Indictment charging Mr. Flores with

18   Conspiracy to Distribute a Controlled Substance- Methamphetamine (21 USC 846 and 841

19   (a)(1) and (b)(1)(B)(viii).
             2. On March 24, 2016, Mr. Flores entered a plea of guilty to Conspiracy to Distribute a
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     Mixture of Substance Containing a Detectable Amount of Methamphetamine (21 USC 846 and
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 4          4. The Court provided Mr. Flores with a self-surrender date of January 9, 2017.
            5. On or about November 29, 2016, the Defendant was counseled by his doctor that he
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     needs knee and shoulder replacement surgeries.
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            6. Records documenting the foregoing recommended surgeries have been provided to
 7
     the Assistant United States Attorney.
 8          7. Mr. Flores requires additional time to have those surgeries.

 9          8. For the foregoing reasons, Mr. Flores is requesting a 60-day extension of his January

10   9, 2017 surrender date.
            9. The Assistant United States Attorney stipulates to the extension.
11
            THEREFORE, IT IS HEREBY ORDERED that the Defendant’s request to extend his
12
     surrender date of January 9, 2017 for a period of 60 days is hereby GRANTED.
13
            IT IS FURTHER ORDERED that the Defendant shall surrender for service of sentence
14   at the institution designated by the Bureau of Prisons:

15

16          [ X] by 12:00 Noon on ________________________________________.
                                  March 13, 2017.
            [ ] as notified by the United States Marshal.
17
            [ ] as notified by the Probation or Pretrial Services Office.
18

19
           ORDERED this
           ORDERED this ________
                        7th day ofday of ___________________________,
                                   December,   2016.                  2016.
20

21                                                 BY THE COURT

22

23
                                                   ________________________________________
24                                                 U.S. DISTRICT JUDGE

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